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UNITED STATES DISTRICT COURT ge m .. ,_ 4 n C.
WESTERN DISTRICT 0F TENNESSE“E--f 32

 

 

EASTERN DIVISION
U.'t , !.“‘

BOOKER HORGES, JUDGMENT IN A CIVIL CASE

Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: 1:03-1231-B
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

lT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed With prejudice.

AYROVED:

.]. NIEL BREEN
TED STATES DISTRICT COURT

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Clerk of Court

Q.g£@,@i

(By) Deputy Clerk

  
  

 

This document entered on the docket a l c mpliance
with nme 58 and:or_?e (a) FHCP on l § ll 25

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

J ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

W. Gaston Fairey

FAIREY PARISE & 1\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Honorable J. Breen
US DISTRICT COURT

